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                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
                              WEST PALM BEACH DIVISION


 UNITED STATES OF AMERICA                     )
                                              )      Case No. 22-80119-Cr-Rosenberg/Reinhart
 v.                                           )
                                              )                                      TM
 RANDALL LENZ                                 )

                                          INFORMATION                      Aug 3, 2022
        The United States charges that:
                                                                                        West Palm Beach
                                            Count One

        On or about October 7, 2020, in the Southern District of Florida, RANDALL LENZ,

 defendant herein, a resident of Boca Raton, Florida, willfully made and subscribed and filed and

 caused to be filed with the Internal Revenue Service, a false U.S. Individual Income Tax Return,

 IRS Form 1040, for the calendar year 2019, which was verified by a written declaration that it was

 made under the penalties of perjury and which RANDALL LENZ did not believe to be true and

 correct as to every material matter. That tax return reported on Schedule A, line 12, that he was

 entitled to a deduction of $90,650 for gifts other than by cash or check to charity, whereas, as

 RANDALL LENZ then well knew, he was not entitled to a deduction in such amount.

        In violation of Title 26, United States Code, Section 7206(1).

                                                     DAVID A. HUBBERT
                                                     Deputy Assistant Attorney General
                                                     Department of Justice, Tax Division

                                              By:

                                                     Parker Tobin
                                                     Casey Smith
                                                     Nicholas Schilling
                                                     Trial Attorneys
                                                     Department of Justice, Tax Division
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